Case 1:17-cr-20275-RLR Document 71 Entered on FLSD Docket 04/06/2022 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 17-CR-20275-UU

  UNITED STATES OF AMERICA,

  v.

  KEVIN FUSCO,

                     Defendant.
  _______________________________/

                                  NOTICE OF APPEARANCE

         The United States of America, through its undersigned Assistant United States Attorney,

  respectfully submits this Notice of Appearance, requesting that Assistant United States Attorney

  DANIEL FUNK be informed of all future filings in the above-captioned case.


                                                     Respectfully submitted,

                                                     JUAN ANTONIO GONZALEZ
                                                     UNITED STATES ATTORNEY

                                              By:    s/ Daniel Funk
                                                     DANIEL FUNK
                                                     Assistant United States Attorney
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Case 1:17-cr-20275-RLR Document 71 Entered on FLSD Docket 04/06/2022 Page 2 of 2




                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 6, 2022, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF.



                                                   s/ Daniel Funk
                                                   DANIEL FUNK
                                                   Assistant United States Attorney
